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                    THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


MARGARET CZERWIENSKI,
LILIA KILBURN, and AMULYA
MANDAVA

     Plaintiffs,
                                        Case No. 1:22-cv-10202-JGD
v.

HARVARD UNIVERSITY AND THE
PRESIDENT AND FELLOWS OF
HARVARD COLLEGE

     Defendant.




 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT TEN
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       This case concerns Defendant Harvard University’s deliberate indifference to complaints

of sexual harassment and retaliation by multiple Anthropology professors, which allowed

Professor John Comaroff to similarly victimize Plaintiffs Lilia Kilburn, Margaret Czerwienski,

and Amulya Mandava. When Plaintiffs formally complained in 2019 (following prior complaints

by others), Harvard sat idle for over a year, until the media was poised to reveal the school’s

inaction. Harvard’s ensuing investigation failed to hold Comaroff accountable and only

compounded Plaintiffs’ ordeal. Count Ten addresses just one example: it alleges that during

Harvard’s belated investigation, Harvard’s investigators unreasonably obtained Kilburn’s private

therapy records without a release or her consent and then shared them with Comaroff.

       Harvard now asks the Court to enter an unprecedented order granting pre-discovery

summary judgment on Count Ten based on the affidavits and notes of its own employees, whom

Plaintiffs have had no opportunity to depose. Def.’s Am. Mot. Partial Summ. J. Count Ten, Dkts.

47–52 (hereinafter “Def’s Mot.”). Harvard does not cite a single decision in this Circuit to have

ever granted such a premature summary judgment motion based on such untested, self-serving

testimony. This Court should not be the first to do so.

       First, Harvard’s Amended Motion for Partial Summary Judgment as to Count Ten (the

“Motion”) fails under the plain language of Rule 56. “The plain language” of Rule 56 provides for

summary judgment only “after adequate time for discovery,” and only after the movant has met

its burden to “demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23 (1986) (emphasis added). Harvard cannot meet this burden based

on “untested affidavits” submitted by witnesses Plaintiffs have not “had an opportunity to depose.”

Est. of Rahim by Rahim v. United States, 506 F. Supp. 3d 104, 113 (D. Mass. 2020) (Talwani, J.).




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       Second, even taken as true—which is inappropriate at this stage—the contents of Harvard’s

affidavits and notes fail to show the absence of a triable issue on the reasonableness of its actions.

Psychotherapy records are among the most sensitive and private records in existence. The law

repeatedly recognizes their sensitivity: multiple federal and state statutes and regulations impose

heightened safeguards, which required Harvard to seek Ms. Kilburn’s “voluntary, written

consent” to “access,” “disclose,” or “use” her medical records. See 34 C.F.R. § 106.45(b)(5)(i).

Harvard acknowledges that it lacked such written consent and instead obtained these records based

“solely” on one alleged oral statement by Kilburn that her private therapist “should have” some

“notes or memories.” See Def.’s Am. Statement Material Facts, Dkt. 49 (“SMF”) ¶ 68. Harvard

took this ambiguous statement as license to obtain full psychotherapy progress notes from two

private sessions—neither of which Harvard had discussed with Kilburn, and both of which

disclosed intimate details of her family life that Harvard admits had “nothing to do with the case.”

Povich Aff. Ex. 21 at 15 (emphasis added). And Harvard then shared those notes with Kilburn’s

harasser and others. At each step of the way, Harvard could have asked a simple question to clarify

Kilburn’s intent, but it did not bother. This failure was plainly unreasonable and therefore violated

Mass. Gen. Laws ch. 214, § 1B and Massachusetts common law.

       Third, even if Harvard could carry its initial burden on summary judgment, the Court

should deny Harvard’s motion under Rule 56(d) to give Plaintiffs time for discovery. “Typically,

when the parties have no opportunity for discovery, denying [a] Rule 56[d] motion and ruling on

a summary judgment motion is likely to be an abuse of discretion.” In re PHC, Inc. S’holder Litig.,

762 F.3d 138, 144 (1st Cir. 2014); see also 10B Wright & Miller, Fed. Prac. & Proc. § 2741 (4th

ed. 2008) (“[T]he granting of summary judgment will be held to be error when discovery is not

yet completed.”). Just so here.



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        Harvard has jumped the gun. The Court should deny the motion.

I.      FACTUAL BACKGROUND

     A. Plaintiff Kilburn’s Claims

        Plaintiffs’ Complaint details that Comaroff sexually harassed Kilburn for over two years.

Am. Compl. ¶ 85 (Dkt. 35). He repeatedly kissed her lips without her consent, groped her thigh,

and imagined aloud her rape and murder while they were alone in his office on her first day of

graduate school. Id. ¶¶ 85–103. When Kilburn sought to avoid his harassment and refused to meet

with him alone, Comaroff retaliated: he became possessive, forbade her from working with her

primary advisor, pressured her to change her dissertation topic to one in which he alone

specialized, and attempted to force himself into a small space with her over her physical resistance.

Id. ¶¶ 104–07. His behavior caused Kilburn extreme emotional distress, for which she sought

therapy. Id. ¶¶ 87, 164, 168, 324.

        Kilburn filed a complaint with Harvard’s Office for Dispute Resolution (“ODR”) in 2020,

but Harvard’s investigation was grossly deficient. Id. ¶¶ 149–50. Among those deficiencies, as set

forth in Count Ten, Harvard obtained Kilburn’s confidential therapy records without her consent

and shared them with Comaroff and various other Harvard employees, at least two of whom

Harvard has still not identified. Id. ¶¶ 164–69, 322–37.

     B. Harvard’s Motion for Summary Judgment on Count Ten

        Plaintiffs filed this case on February 8, 2022. Discovery has not commenced. Nevertheless,

along with its Motion to Dismiss Counts One through Nine, Harvard has moved for summary

judgment on Count Ten based on affidavits and cherry-picked notes of Harvard employees whom

Plaintiffs have had no opportunity to depose. As explained below, the Court may not consider this

information now. But even if credited, the pre-discovery evidence before the Court is insufficient

to win Harvard summary judgment.
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        1. Kilburn Repeatedly Expressed Concerns About Harvard’s Investigation

        On June 4, 2020, after The Harvard Crimson published an article detailing misconduct in

Harvard’s Anthropology Department, Ilissa Povich, an investigator for ODR, emailed Kilburn to

notify her of an investigation into Comaroff. See Povich Aff. Ex. 2. Kilburn responded that she

“would like to participate” in the investigation and asked for a meeting “to hear more about the

process, as I don’t feel that I have a strong understanding of what it entails.” Kilburn Decl. ¶ 14;

Kilburn Decl. Ex. 1. In their first meeting, Kilburn told Povich that she feared that Comaroff would

retaliate against her for participating in the process. Kilburn Decl. ¶ 16. She nonetheless agreed to

file a complaint to correct errors in ODR’s complaint and to prevent future harm to students. See

Plaintiffs’ Resp. Def.’s Am. Statement Material Facts (“RSMF”) ¶ 26.

        In subsequent emails, Kilburn expressed concerns about ODR’s handling of information.

She wrote, “I would have concerns about sharing electronic copies of things, given how easily

they can be copied,” and asked ODR how it would handle sharing documents. RSMF ¶ 23. ODR

responded that it would share any information “used by [ODR] in reaching its conclusions” as well

as “other information received from the complainant and respondent during the investigatory

process.” Id. As to information provided by witnesses “[on which] ODR may rely,” ODR Fellow

Jessica Shaffer told Kilburn that ODR would share such information with the parties “orally.” Id.

ODR did not mention confidential medical records or say when ODR “may rely” on such records.

See id.; see also RSMF ¶¶ 29, 30, 56 (stating that ODR would share only information on which it

“may rely” and not addressing electronic sharing of documents provided by witnesses).1




1
 Povich claims that ODR also told Kilburn that it would share any information she provided with Professor Comaroff.
See SMF ¶¶ 36–37. These statements do not help Harvard, which admits that Kilburn’s therapist, not Kilburn, provided
ODR with the records and information at issue. Id. ¶ 65.

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       2. Kilburn Contacted Her Therapist, Asked to Review Her Own Therapy Notes, and
          Asked Her Therapist to Prepare a Brief Summary for Her Review

       Comaroff responded to Kilburn’s ODR complaint on August 12, 2020. See RSMF ¶ 42.

He argued that Kilburn was lying about his behavior causing her emotional distress, which he

claimed stemmed from “reasons unrelated” to his conduct. See Kilburn Decl. ¶ 30. This assertion

was false. In fact, Kilburn had sought out a private therapist unaffiliated with Harvard specifically

to speak about Comaroff’s sexual harassment. Id. ¶ 31. Concerned that ODR would credit

Comaroff’s misrepresentations about her mental health if she did not have a witness to rebut them,

Kilburn emailed her therapist on August 20, 2020 to ask if she could review the therapist’s notes

from May 2019, when Kilburn had discussed Comaroff’s harassment in therapy sessions. See

Kilburn Decl. ¶ 34. On the same day, the therapist responded that she was on vacation and could

not find notes from May 2019. Id. ¶ 35. She offered to check her files once she returned to Boston,

and to write up a “brief statement” summarizing these issues. Id. Kilburn consented to her therapist

searching her files for notes from May 2019, as well as writing the statement which Kilburn

understood would be sent for her review. Id. ¶ 36. Kilburn did not authorize the therapist to disclose

raw notes from any therapy session to anyone other than Kilburn herself. See id. ¶ 37.

       3. Kilburn Told Harvard That She Believed Her Therapist Would Have Memories of
          Their Conversations

       Kilburn submitted a reply to Comaroff’s ODR submission on August 24, 2020. Id. ¶ 38.

She wrote that she believed her therapist would have “memories of [their] conversations” about

specific discrete issues—“about misconduct in [her] department, [her] concerns about the damage

[Comaroff] could do to [her] career”—and wrote that the therapist was “ready to attest to this when

she return[ed] from vacation.” Id. Povich admits that when she “followed up” in Kilburn’s next

interview on the topic, she was following up on these specific subjects. SMF ¶ 50.



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         That interview took place on August 28, 2020. Povich pressed Kilburn to name witnesses

to whom she had “provided information” about Comaroff “that was not provided to other people.”

Id. According to ODR’s notes, Kilburn responded that she spoke with her therapist about the

“impact [sic] a lot about worries in my career” and “what it would mean” to complain. Id. The

ODR notes, taken by a former Harvard employee who has not verified them or been deposed, state

that Kilburn told Povich that the therapist “should have” some “notes or memories for you.” Id.

(emphasis added). Harvard then told Kilburn that it would “need contact information for [the

therapist] as well.” Povich Aff. Ex. 10 at 27. Kilburn complied and provided the therapist’s email.

See Povich Aff. Ex. 12. Povich did not seek or obtain signed consent from Kilburn to discuss

Kilburn’s confidential therapy sessions with the therapist, nor did Povich clarify the scope of any

authorization that she may have believed she possessed.

         4. Harvard Questioned Kilburn’s Therapist About Her Sessions with Kilburn and
            Obtained Kilburn’s Therapy Records Without Kilburn’s Consent

         Kilburn had no further contact with her therapist after the August 20, 2020 email exchange

asking if her therapist could review her notes from May 2019 and write a “brief statement” about

those issues. See Kilburn Decl. ¶ 43. To lawfully disclose Kilburn’s records, Massachusetts and

federal law required the therapist to obtain a written release describing the “specific” “information

to be used or disclosed.” 45 C.F.R. § 164.508; 104 Mass. Code Regs. 27.16(9)(b). No such release

was ever executed, much less provided to Harvard. 2




2
  ODR repeatedly suggested—on August 28, 2020 and several other occasions—that Kilburn could not discuss case-
related documents with witnesses and that having contact with her witnesses would damage her case. See Kilburn
Decl. ¶ 40–42. Unsure if her outreach to her therapist had run afoul of this rule, Kilburn raised the issue in her August
28, 2020 interview, telling Povich that she feared that ODR would conclude she was “messing with witnesses” if she
contacted them about documents. Povich Aff. ¶ 26 (citing Povich Aff. Exhibit 10). Povich did not correct her. And
Kilburn never contacted her therapist again. Kilburn Decl. ¶ 43.

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       Two months later, on October 19 and 22, respectively, Harvard nonetheless contacted and

interviewed Kilburn’s private therapist. See SMF ¶¶ 57, 59. The therapist’s answers revealed that

she, too, had no written release from Kilburn: when asked if Kilburn had “provide[d] [her] with

any documents,” the therapist said “No.” Povich Aff. Ex. 16 at 2. She said that Kilburn had sent

her only the “[o]ne email” to ask if she had relevant documentation. Id. at 1–2.

       Yet Harvard apparently breezed past these red flags, questioned the therapist about her

sessions with Kilburn, and even probed “other issues” unrelated to the case. Id. at 5. At the end

of the interview, ODR asked the therapist for “any documents related to anything we’ve

discussed.” Id. The therapist responded that two progress notes “might be helpful” because they

discussed harassment in Kilburn’s department, but further told Harvard that these notes also

discussed Kilburn’s unrelated “family” issues, Povich Aff. Ex. 16 at 6–7, which (as Povich later

admitted to Kilburn) “ha[d] nothing to do with the case.” Kilburn Decl. Ex. 8 at 15. Shaffer

nonetheless replied that this “could be information we’d consider.” Povich Aff. Ex. 16 at 7. So, at

Harvard’s request, the therapist told Harvard that she would send the notes with Kilburn’s name

redacted and sent two progress notes from March 6 and 20, 2019 by email only hours later. Id.;

RSMF ¶ 65. No one notified Kilburn that this was happening or confirmed that she approved.

       5. Harvard Shared Excerpts of Kilburn’s Therapy Notes with Comaroff and Other
          Harvard Officials Without Kilburn’s Consent

       On August 30, without advance notice to Kilburn, Harvard shared excerpts of Kilburn’s

therapy notes with both Kilburn and Comaroff. See RSMF ¶ 72; Kilburn Decl. ¶ 51. Harvard did

not redact the notes’ reference to Kilburn’s “issues with family of origin.” Kilburn Decl. Ex. 7.

Later, Povich questioned Kilburn about the “family issues” identified in the notes (even though




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she admitted they were irrelevant), thereby making them part of ODR’s record and compounding

the invasion of Kilburn’s privacy. Kilburn Decl. Ex. 8 at 15–16.3

        Harvard did not rely on the therapy records in its Draft Report, deeming them immaterial

to the case. Kilburn Decl. ¶ 58. Yet, inexplicably, Harvard had nonetheless provided them to

Comaroff in contravention of its own policies. Comaroff, in turn, predictably used the notes to

gaslight Kilburn in his response to ODR’s draft report. He quoted the records in detail to argue

that Kilburn’s “PTSD and history of trauma” must have distorted her perceptions or memories so

that she imagined the facts to which she testified (i.e., that he kissed her on the lips multiple times,

groped her thigh, and graphically described her rape and murder at length while they were alone

in his office). Kilburn Decl. Ex. 10 at 2–4. Harvard then attached both the therapy records and

Comaroff’s argument based on them to its Final Report, which it shared with at least seven

University officials and one “other individual” whom Harvard does not name. RSMF ¶¶ 103–7.4

        6. Harvard Refused to Produce Kilburn’s Full Therapy Notes to Kilburn

        Harvard then refused to produce the unredacted therapy records, as well as any information

concerning their acquisition or disclosure, to Kilburn. On September 29, 2021, Plaintiffs’ counsel

asked Harvard to produce the communications between ODR investigators and the therapist

concerning Kilburn’s treatment, including any representations Harvard’s investigators made to

obtain Kilburn’s medical records as well as an unredacted version of all records the therapist sent

to the Harvard. See Guentert Decl. ¶ 3. Plaintiffs’ counsel also asked Harvard to agree not to



3
 Harvard’s policy of sharing complainant interviews with respondents suggests that it would have shared Povich’s
questions and Kilburn’s answers with Comaroff. See SMF ¶ 21. But Harvard conspicuously omits most of Comaroff’s
evidence review from the record. See Povich Aff. Ex. 30 (containing three of 350 pages). Plaintiffs requested that
Harvard share the entirety of Comaroff’s 350-page evidence review pursuant to Federal Rule of Evidence 106.
Guentert Decl. at 10. Harvard has improperly ignored this request. Id.
4
 An un-deposed witness claims that Harvard did not attach the therapy notes or Comaroff’s response to the Draft
Report when it shared the report with this “other individual.” RSMF ¶ 107.

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further disclose Kilburn’s medical records, to identify the individuals who have received a copy

of the records, and to instruct these individuals to return the records to Harvard’s general counsel’s

office. See id. Harvard refused. See id.

       The first time Kilburn saw her own unredacted medical records was when Harvard attached

them as exhibits to its May 31, 2022 Motion for Partial Summary Judgment. Kilburn Decl. ¶ 78.

II.    HARVARD’S BURDEN ON SUMMARY JUDGMENT

       A court should grant summary judgment only “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); Celotex Corp., 477 U.S. at 322 (the “plain language” in Rule 56(c) “mandates the

entry of summary judgment, after adequate time for discovery”). A plaintiff has “no obligation to

offer evidence supporting its own case unless the moving party meets its initial burden of

demonstrating the absence of a genuine issue of material fact.” Carmona v. Toledo, 215 F.3d

124, 133 (1st Cir. 2000) (emphasis added); see Adickes v. S. H. Kress & Co., 398 U.S. 144, 160

(1970). To meet its “initial burden,” Harvard must “demonstrate the absence of a genuine issue of

material fact” in “one of two ways”: (a) “demonstrate that [Plaintiff] will be unable to carry [her]

burden of persuasion at trial” based on the evidence produced in discovery or (b) “affirmatively

produce evidence that negates an essential element of [Plaintiff’s] claim.” Carmona, 215 F.3d at

132.

       Harvard can do neither. A plaintiff “must have had sufficient time and opportunity for

discovery before a [defendant] will be permitted to carry its initial burden of production by

showing that the [plaintiff] has insufficient evidence.” Id. at 133. And a defendant cannot negate

a claim “based on affidavits” submitted by witnesses plaintiffs have not “had an opportunity to

depose.” Rahim, 506 F. Supp. 3d at 114. Rather, “[a] pre-discovery motion for



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summary judgment is only appropriate for pure questions of law or incontrovertible questions of

fact that must be shown through documentary evidence.” Lee v. Conagra Brands, Inc., No.17-

11042, 2021 WL 3131536, at *1 (D. Mass. July 23, 2021) (Gorton, J.).

         This is no such case.5 It turns on the reasonableness of Harvard’s actions, which is a

question of fact for the jury. See Polay v. McMahon, 468 Mass. 379, 383 (2014).

III.     HARVARD CANNOT MEET ITS BURDEN BEFORE DISCOVERY

         A. Evidence from Un-Deposed Witnesses Cannot Meet Harvard’s Burden

         Harvard’s Motion relies entirely on self-serving affidavits and incomplete notes authored

by its employees—all incompetent evidence in this pre-discovery posture. Harvard offers no other

evidence of the critical discussions in which Harvard claims it obtained Kilburn’s consent,

interviewed her therapist, and requested her medical records. See SMF ¶¶ 67–68.

         Harvard cannot meet its burden based on these untested affidavits. “Defendants may offer

affidavits on summary judgment only after Plaintiff has had an opportunity to depose the affiants,

and the untested affidavits may not be relied upon here.” Rahim, 506 F. Supp. 3d at 114. Therefore,

the Court must disregard the untested statements of Ms. Povich, Ms. Masud, and Mr. Yu regarding

the process by which Harvard obtained and disclosed Kilburn’s therapy records.

         For the same reason, the Court should reject Harvard’s cherry-picked exhibits. The

employees who authored these documents have not been subjected to cross examination and thus

these documents cannot be considered competent evidence. Moreover, Povich’s affidavit shows


5
  Indeed, Harvard cites only one case to have granted a pre-discovery motion for summary judgment, a 1973 case
from the Third Circuit Hubicki v. ACF Indus., Inc., 484 F.2d 519, 523 (3d Cir. 1973). There, however, the court relied
in part on the plaintiff’s own affidavit, and the plaintiff did not request relief under Rule 56(d) or its predecessor, Rule
56(f). See id. at 524–25. In Chan Wing Cheung v. Hamilton, an appeal from an administrative proceeding sixty years
ago, the First Circuit refused to consider the defendant’s evidence and affirmed the grant of summary judgment
because the appellant’s own affidavits and concessions established his ineligibility for relief. 298 F.2d 459, 460–61
(1st Cir. 1962). These cases are inapposite; here, Defendant relies entirely on affidavits of its own employees, whom
Plaintiffs have yet to depose.

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that Harvard has selectively offered exhibits from a wider universe of discoverable evidence in its

possession—evidence that Plaintiffs have no means of obtaining.6 A motion for summary

judgment is appropriate only after Plaintiffs have had an opportunity to fully probe all documents

in Harvard’s possession concerning Kilburn’s medical records, as opposed to the select excerpts

Harvard believes support its motion. Lee, 2021 WL 3131536, at *1 (“Courts are hesitant to

allow pre-discovery motions for summary judgment . . . particularly when discovery could

uncover evidence in the nonmoving party’s favor.”); Resolution Tr. Corp. v. N. Bridge Assoc.,

Inc., 22 F.3d 1198, 1208 (1st Cir. 1994) (“[I]t is [n]either necessary [n]or desirable for a court to

attempt to probe sophisticated issues on an undeveloped record”). Harvard’s motion thus fails.

        Finally, even putting aside this case’s pre-discovery posture, Harvard cannot rely on its

former employees’ notes because it cannot present them in an admissible form. See Fed. R. Civ.

P. 56(c)(2), Advisory Committee Notes to 2010 Amendment (explaining that the proponent must

show evidence submitted on summary judgment can be presented in admissible form at trial).

Harvard extensively references Povich’s affidavit, specifically regarding her colleagues Shaffer

and Erika Christensen’s notes. Def.’s Mot. at 7, 9–13. But the notes are hearsay and Povich’s

affidavit does not even belatedly vouch for the accuracy of ODR’s notes from the August 28, 2020

interview, in which Harvard claims to have obtained Kilburn’s consent, or ODR’s October 22,

2020 interview with Kilburn’s therapist. See Povich Aff. ¶¶ 26, 32. The only notes that Povich says

she reviewed for accuracy were the notes of Kilburn’s July 13, 2020 interview (which do not

discuss Kilburn’s therapy records) and Kilburn’s January 5–7, 2021 interviews (after ODR

obtained and shared the records). See id. ¶¶ 16, 40. The failure to present a witness who would


6
  Harvard selected just three pages of ODR’s 350-page evidence review with Prof. Comaroff (Povich Aff. Ex. 30) and
just one page of ODR’s 172-page evidence review with Kilburn (Id. Ex. 21). Harvard’s refusal to offer full versions
of the evidence on which it relies raises questions about both the remainder of these documents and what evidence it
may be seeking to hide entirely.

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testify to the contents of the notes at trial, or to show that the notes are admissible under an

exception to the hearsay rule, alone dooms Harvard’s motion. See Evergreen Partnering Grp., Inc.

v. Pactiv Corp., 832 F.3d 1, 12 (1st Cir. 2016) (“‘It is black-letter law that hearsay evidence cannot

be considered on summary judgment’ for the truth of the matter asserted.”) (citation omitted); Fed.

R. Evid. 803(5) (A record is hearsay except if it “was made or adopted by the witness when the

matter was fresh in the witness’s memory; [ ] and accurately reflects the witness’s knowledge.”).

       B. Even if Admissible on Summary Judgment, Harvard’s Affidavits and Notes
          Would Not Defeat Plaintiff’s Claim Under the Massachusetts Privacy Statute

       Even if Harvard’s untested affidavits and notes were admissible to support a pre-discovery

motion for summary judgment—which they are not—Harvard’s evidence undermines its own

case. Harvard’s evidence suggests that it solicited Kilburn’s confidential therapy records and

disseminated them based “solely” on Kilburn’s alleged statement that her therapist “should have”

some “notes or memories” for Harvard. SMF ¶ 68. Whether these actions were reasonable is, under

Massachusetts law, a question of fact for the jury, and a jury could no doubt find that these

statements do not qualify as consent, much less the written consent required by Title IX

regulations. A jury could therefore find that Harvard acted unreasonably and therefore violated

Mass. Gen. Laws ch. 214, § 1B and Massachusetts common law.

           1. Massachusetts Law Gives Robust Protection for Medical Records

       The doctor-patient relationship is “one of the most sensitive and private spheres of human

conduct.” Leysock v. Forest Lab’ys, Inc., No. 12-11354, 2017 WL 1591833, at *10 (D. Mass. Apr.

28, 2017). The procurement, retention, or disclosure of confidential medical information without

the patient’s consent is actionable under Mass. Gen. Laws ch. 214, § 1B, which protects a person’s

“right against unreasonable, substantial or serious interference with [her] privacy.” See Tower v.

Hirschhorn, 397 Mass. 581, 586–87 (1986); Amato v. Dist. Att’y for Cape & Islands Dist., 80

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Mass. App. Ct. 230, 240 (2011) (plaintiff stated a claim for “unreasonable intrusion” under § 1B

based on allegations that the state retained his DNA records without authorization; such a claim

“does not require proof of dissemination”); Pressman v. Brigham Med. Grp. Found. Inc., 919 F.

Supp. 516, 524 (D. Mass. 1996) (hospital violated statute by obtaining medical records that

exceeded scope of plaintiff’s consent to obtain records).

        “[A] plaintiff also may support a claim of invasion of privacy by showing that a defendant

has intruded unreasonably” on her privacy. See Polay, 468 Mass. at 382. This issue of “whether

an intrusion qualifies as unreasonable, as well as either substantial or serious, presents a question

of fact” for the jury. Id. at 383 (emphasis added).

            2. Harvard’s Failure to Obtain Written Consent Violated Federal Regulations, its
               Own Guidance, and Custom in the Field

        A jury could find that Harvard unreasonably obtained Kilburn’s medical records because

it obtained them without her written consent. Federal Title IX regulations prohibit university

investigators to “access, consider, disclose, or otherwise use” therapy records without the student’s

“voluntary, written consent.” 34 C.F.R. § 106.45(b)(5) (emphasis added). The rule protects victims

of harassment who are navigating an unfamiliar investigative process from misunderstandings or

misconduct that may expose their most private records. Povich herself trained investigators to

follow this regulation and obtain written consent before seeking medical records. Guentert Decl.

Ex. 1 at 77; id. Ex. 2 at 73.

        The regulation bears directly on the “reasonableness of an intrusion” under the Privacy

Act. See Jackson v. Liquid Carbonic Corp., 863 F.2d 111, 116 (1st Cir. 1988) (explaining that

specific prohibitions on an employer’s access to “personal data” are “the most important test of

the reasonableness of an intrusion”); Bratt v. Int’l Bus. Mach. Corp., 392 Mass. 508, 520 n.17, 523

n.22 (1984) (looking to other statutes to determine when an intrusion was “unreasonable”); see

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also MacDonald v. Ortho Pharm. Corp., 394 Mass. 131, 139–40 (1985) (holding that failure to

comply with federal regulations showed negligence); Michnik-Zilberman v. Gordon’s Liquor, Inc.,

390 Mass. 6, 11 (1983) (“When a statute provides that under certain circumstances particular acts

shall or shall not be done, it may be interpreted as fixing a standard for all members of the

community, from which it is negligence to deviate.”).

       Likewise, the requirements of Harvard’s own trainings and the customs of other

universities bear on the reasonableness of Harvard’s actions. See, e.g., MacDonald, 394 Mass. at

140; see also Bratt v. Int’l Bus. Mach. Corp., 785 F.2d 352, 361 (1st Cir. 1986) (holding that “fact

finder could further conclude that [an institution’s] employees did not have a legitimate interest in

obtaining [private] information in a manner which violated the [institution’s own] internal rules.”);

Com. v. Angelo Todesca Corp., 446 Mass. 128, 138 (2006) (holding that “an employee’s violation

of [her] employer’s rules,” or her departure from unwritten “custom or practice,” evinces

unreasonable conduct amounting to negligence); see further Restatement (Second) of Torts § 892

(1979) (“In determining whether conduct would be understood by a reasonable person as

indicating consent, the customs of the community are to be taken into account.”); see also Guentert

Decl. ¶ 17 (noting that Plaintiffs would seek discovery into customs of other universities).

       Here, Harvard admits that it obtained the records “solely” because of Kilburn’s alleged oral

statement that her therapist “should have” had some “notes or memories” for ODR. SMF ¶ 68.

Harvard thus lacked the written authorization required by federal regulations and its own trainings.

A jury could therefore find Harvard’s actions “unreasonable.”

       Harvard’s argument that the regulation is not “retroactive” and therefore has no bearing is

a red herring. Harvard obtained and shared Kilburn’s therapy records in October 2020—months

after the regulation took effect on August 14, 2020. In reality, Harvard contends that the regulation



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contains an unwritten exemption, such that a university may access and use a student’s medical

records without written consent whenever it is investigating conduct that occurred before the

regulation’s effective date. But the regulation contains no hint of any such exemption. See Doe v.

Rensselaer Polytechnic Institute, 2020 WL 6118492, *9-10 (N.D.N.Y. 2020) (2020 Title IX rules

apply to investigations conducted after August 14, 2020 even when the underlying harassment

happened earlier, and the FAQs Harvard cites are not authoritative); see also Kisor v. Wilkie, 139

U.S. 2400, 2415 (2019) (when a regulation is unambiguous, the court must apply it as written);

United States v. Soto-Rivera, 811 F.3d 53, 60 (1st Cir. 2016) (rejecting interpretation of a

regulation when there was “no mechanism or textual hook” in the rule to support it). And, in any

event, Harvard’s retroactivity argument does nothing to address the written consent requirement

of its own trainings.

           3. Harvard Does Not Establish that It Reasonably Believed that It Obtained
              Kilburn’s Oral Consent

       Harvard’s evidence does not even suggest that Harvard reasonably believed it had

Kilburn’s oral consent to obtain the therapy records and disclose them to others. Massachusetts

law sets high standards for when investigators may intrude on someone’s privacy based on a

mistaken belief in consent. The Privacy Act’s “test of reasonableness” turns on the same balancing

test that applies under Article 14 of the Massachusetts Constitution, which weighs the interests of

the defendant against “the seriousness of the intrusion” on the plaintiff’s privacy. O’Connor v.

Police Com’r of Bos., 408 Mass. 324, 330 (1990); Jackson, 863 F.2d at 116 (using the same

“balancing” test to interpret the Privacy Act and Art. 14); see also Ayash v. Dana-Farber Cancer

Inst., 443 Mass. 367, 383 (2005) (explaining that courts determine what is “reasonable” under the

Privacy Act by balancing the interests of the defendant against the “substantiality of the

intrusion”). In striking that balance under Art. 14, the Supreme Judicial Court has held that the

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“scope” of consent “must be unambiguous” to render an intrusion “reasonable.” Commonwealth

v. Ortiz, 478 Mass. 820, 825–26 (2018) (“It is fair to conclude that the scope of [a] search should

not extend into the realm of the ambiguous, especially when the police can easily resolve that

ambiguity with a clarifying question”).

        Likewise, a jury could conclude that a reasonable investigator would clarify ambiguities

before construing an off-hand statement as consent to access therapy notes—among the most

intimate of personal records—and disclose them to the patient’s harasser. “[T]he process of asking,

in a brief and even-handed fashion, simple clarifying questions does not burden” and resolves the

obvious risk of an unauthorized disclosure of highly sensitive records. Id. at 826. Yet Harvard’s

investigators declined to clarify both whether they had consent and the scope of such consent.

        Instead, based “solely” on Kilburn’s remark that her therapist “should have” some “notes

or memories” for ODR, Harvard gave itself carte blanche. SMF ¶ 68 (emphasis added).7 A jury

could easily conclude that this passing, disjunctive, and unspecific reference to “notes” did not

constitute permission—let alone unambiguous permission—for ODR to obtain full records from

two specific sessions without any further discussion or authorization from Kilburn. At minimum,

the jury could find that Harvard should have asked Kilburn a “simple clarifying question” before

it obtained those sensitive records and disclosed them to her harasser. See Ortiz, 478 Mass. at 826.

        Moreover, even if the jury were to find that Kilburn made the statements Povich attributes

to her, and even if it found that the statements constituted apparent consent to obtain some therapy

notes, the jury could find Harvard liable because it failed to clarify which notes and exceeded the

scope of any consent. See Pressman, 919 F. Supp. at 524 (plaintiff’s consent to undergo a medical



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 And this analysis presumes that the foregoing words were even said—which the Court need not do at this stage.
Povich does not testify that she remembers Kilburn saying these words—only that her former colleague’s unsworn
notes reflect them. The Court need not, therefore, credit them. See supra Part III.A.; Fed. R. Evid. 803(5).

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examination and contact a hospital to obtain “any other information relevant to my character or

my professional competence” was not consent to review his medical records; denying summary

judgment); Amato, 80 Mass. App. Ct. at 241 (plaintiff stated a claim based on allegations that

investigators used his DNA sample beyond the scope of his limited consent). There is simply no

evidence that Kilburn gave Harvard blanket consent to obtain information entirely unrelated to the

investigation. See generally Kilburn Decl. Yet that is exactly what Harvard did.

            4. Harvard Does Not Establish that It Reasonably Assumed that Kilburn’s
               Therapist Obtained the Required Consent

        Nor was Harvard entitled to infer that it had Kilburn’s consent from the fact that her

therapist was willing to hand over the notes. As set forth above, neither federal regulations, nor

Harvard’s trainings, nor custom suggest that Harvard could reasonably assume away the need for

its own written release. See supra, Section III.B.2. See 34 C.F.R. § 106.45(b)(5).

        Yet even assuming arguendo that Harvard could assume away the need for its own written

release from Kilburn, a jury could still find the school’s conduct unreasonable: Harvard’s motion

identifies no steps to ensure that the therapist had Kilburn’s consent to release her records to

Harvard—let alone the “express, written consent” required. Mass. Gen. Laws ch. 112, § 129A;

45 C.F.R. § 164.508. To the contrary: The therapist indicated that she did not receive a written

release from Kilburn. See Povich Aff. Ex. 16 at 2. The therapist’s statement that she had received

only “an email” put Harvard on notice that a written release had not been obtained. A simple

question could have clarified, but, once again, Harvard did not bother. A jury could easily find this

careless.8 Cf. Com. v. Porter P., 456 Mass. 254, 272 (2010) (explaining that when the facts were

“ambiguous” as to whether a third party has authority to consent to an intrusion on another’s


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 The therapist’s statement that she would “comply with HIPAA” by redacting Kilburn’s name from the records
before she sent them does not help Harvard. See RSMF ¶ 64.


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privacy, investigators “owe[d] a duty to explore, rather than ignore, contrary facts tending to

suggest that the [mother]. . . lack[ed] actual authority” to consent to the search).

             5. Harvard Does Not Establish that It Reasonably Disclosed the Records

         Because Harvard did not act reasonably to ensure Kilburn gave ODR her permission to

obtain the therapy records from her March 6 and 20, 2019 sessions in the first place, it was not

reasonable for Harvard to share those confidential records with Kilburn’s harasser, attach them to

its investigative reports, and disseminate them. Harvard incants ad nauseum that it warned Kilburn

it would share information produced by third parties with Comaroff to the extent that ODR “may

rely” on that information. SMF ¶ 23, 29, 30, 33, 40. Yet Harvard effectively concedes that it did

not “rely” on or even discuss Kilburn’s therapy records. See RSMF ¶¶ 95, 98. Harvard does not

even attempt to explain why it nonetheless attached these confidential records to its report, which

it disseminated to not only Comaroff, but also to at least eight other people.9

         C. Plaintiff’s Massachusetts Common Law Claims Survive Summary Judgment

         As explained above, Massachusetts common law prohibits a healthcare provider to

“disclose without the patient’s consent medical information about the patient. . . .” Alberts v.

Devine, 395 Mass. 59, 68 (1985). A third party (such as Harvard) who “induces” a psychotherapist

to disclose information it reasonably should have known was confidential “may be held liable to

the patient for the damages that flow from that disclosure.” Id. at 70. Harvard does not dispute the

first two elements of this cause of action—that it (1) “knew . . . of the existence of the physician-


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  Harvard’s last point—that Kilburn did not immediately object after-the-fact to its use her private records—does not
establish that she consented to it. By the time Kilburn learned that Harvard had obtained and shared her records, the
damage was already done: ODR had already seen them and sent them to Comaroff two minutes after sending them to
Kilburn—hardly sufficient time for Kilburn to object. See RSMF ¶ 72. Harvard does not even contend that an after-
the-fact objection would have made any difference, thus precluding a laches defense. See Vineberg v. Bissonnette, 548
F.3d 50, 58 (1st Cir. 2008) (party asserting laches must provide “at least a hint” on what an earlier objection “might
have yielded”). Nor could it: when Plaintiffs’ counsel did bring the issue to Harvard’s attention in writing, Harvard
refused to recall the records or take steps to limit further disclosure. Guentert Decl. ¶ 3.


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patient relationship” between Kilburn and her therapist and (2) “intended to induce the [therapist]

to disclose information about the patient.” Id.

        “To be entitled to summary judgment” on the common law claim, therefore, Harvard must

“demonstrate that there was no dispute of material fact that [its investigators] reasonably believed

that [Kilburn’s therapist] could give them the information they sought without violating [her] duty

of confidentiality owed to [Kilburn].” Id. at 71–72. Harvard cannot do so even if its untested

affidavits and notes were taken as a true. As explained above, Harvard’s exhibits do not show that

Harvard (1) obtained any written release as required by federal regulations designed to ensure that

an institution’s belief in consent is reasonable (see supra section III.B.2), (2) reasonably believed

it had oral consent to obtain the records and information it did (see supra section III.B.3), and (3)

reasonably believed the therapist had Kilburn’s permission to disclose the records and information

unrelated to the investigation (see supra section III.B.4).

       D. Key Issues Remain for the Jury to Resolve

       Harvard’s untested affidavits and notes themselves highlight several fact issues for the jury:

i.e., whether ODR acted reasonably when it (1) violated federal regulations and its own trainings,

(2) took Kilburn’s alleged statement that her therapist had “notes or memories” as license to obtain

two records from specific sessions without asking a single clarifying question, (3) requested those

notes from Kilburn’s therapist after she indicated that she did not have a written release from

Kilburn and that the notes contained irrelevant information, and (4) disseminated those notes to

Comaroff and various other people without checking with Kilburn. These issues should be tried.

IV.    THE COURT SHOULD DENY THE MOTION UNDER RULE 56(d)

        Even if the Court finds that Harvard has met its initial burden of production, the Court

should still deny Harvard’s Motion for Summary Judgment because Plaintiffs require discovery to



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“produce additional evidence showing the existence of a genuine issue for trial.” Celotex, 477 U.S.

at 332 n.3; Fed. R. Civ. P. 56(d). The accompanying Declaration of Carolin Guentert sets out in

detail the discovery necessary to produce facts essential to justify Plaintiffs’ opposition, including:

       x   Depositions of Povich, Shaffer, and Christensen to determine the accuracy of ODR’s
           notes and the contents of ODR’s discussions with Kilburn and her therapist.
       x   A deposition of Kilburn’s therapist to ascertain her recollection of her interview with
           Harvard and whether Harvard inquired about Kilburn’s permission to disclose the
           records.
       x   Document discovery to prove that Kilburn never signed a release for therapy notes.
       x   Document discovery to determine all recipients of the therapy notes and what those
           recipients were told regarding the notes.
       x   Depositions and document discovery to establish Harvard’s customary practices for
           handling students’ sensitive medical records.
       x   Document discovery to determine whether there are documents unfavorable to
           Harvard’s position.
       x   Evidence of other universities’ customary practices to ensure that they have informed
           consent to seek medical records, including through potential expert discovery.

       Granting pre-discovery summary judgment based on Harvard’s affidavits and notes—in

the absence of the foregoing discovery—would be a clear “abuse of discretion.” In re PHC, 762

F.3d at 144; see Rahim, 506 F. Supp. 3d at 114; Collision Commc’ns, Inc. v. Nokia Sols. &

Networks OY, 2021 WL 1124725, *3 (D.N.H. 2021) (“No discovery has been undertaken in this

case, and therefore the record has not been developed for purposes of summary judgment.”); Wood

v. United States, 115 F. Supp. 2d 9, 16 (D. Me. 2000) (denying summary judgment because

defendants relied on declarations from witnesses plaintiffs had no opportunity to depose).

V.     CONCLUSION

       Harvard’s premature Summary Judgment Motion would run roughshod over discovery—

just as Harvard ran roughshod over the protections for Ms. Kilburn’s privacy. The Court should

deny the Motion.


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Dated: August 23, 2022             Respectfully submitted,

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